

New York Dangerous LLC v Librot (2021 NY Slip Op 06811)





New York Dangerous LLC v Librot


2021 NY Slip Op 06811


Decided on December 07, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 07, 2021

Before: Acosta, P.J., Gische, Webber, Friedman, Kennedy, JJ. 


Index No. 655839/17 Appeal No. 14801 Case No. 2019-2817, 2019-21211 

[*1]New York Dangerous LLC et al., Plaintiffs-Appellants,
vAdam Librot, Defendant-Respondent. 


Leon Feingold, appellant pro se and for New York Dangerous LLC, appellant.
Adam Librot, respondent pro se.



Order, Supreme Court, New York County (Gerald Lebovits, J.), entered on or about March 14, 2019, which denied plaintiffs' motion to vacate an order, same court and Justice, entered January 25, 2019, dismissing the complaint pursuant to 22 NYCRR 202.27 for their failure to appear at two preliminary conferences, unanimously affirmed, without costs.
Plaintiffs failed to demonstrate a reasonable excuse for their failure to appear at two scheduled court conferences (see 22 NYCRR 202.27; Biton v Turco, 88 AD3d 519 [1st Dept 2011], lv dismissed 30 NY3d 1081 [2018]). Although the preliminary conferences were not electronically filed on NYSCEF, the e-filing status was "full participation recorded," i.e., all parties provided their email contact information (NYSCEF Index No. 655839/2017). As the motion court observed, plaintiff Feingold, an admitted attorney, "does not deny that he was notified under the e-track system." Thus, Feingold's excuse that he effectively failed to check his email, not once but twice, is unavailing (see Bank of N.Y. v Mohammed, 130 AD3d 1419, 1420 [3rd Dept 2015]).
Plaintiffs also failed to demonstrate a meritorious cause of action (see Biton, 88 AD3d at 519).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 7, 2021








